                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION



JENNIFER REED and             )
JOSE LUIS GARCIA TALENTINO,   )
                              )
    Plaintiffs,               )                Civil Action No. 3:18-cv-00819
                              )
v.                            )                Judge Eli J. Richardson
                              )                Magistrate Judge Frensley
YOUNG HO KIM and UN JUNG KIM, )
                              )
    Defendants.               )




        NOTICE OF WITHDRAWAL OF MOTION (Doc. 20) AS COUNSEL FOR
              DEFENDANTS YOUNG HO KIM AND UN JUNG KIM


       Undersigned counsel filed a Motion to Withdraw his appearance for Defendants with the

Court today. Upon further review, undersigned counsel hereby gives notice of his withdrawal of

this Motion (Doc. 20) at this time.



                                           Respectfully submitted,

                                           /s/ Trevor W. Howell
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                                           Attorney for Defendants




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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 5th day of March, 2019, I electronically transmitted the above
and foregoing Notice to the Clerk of the Court using the CM/ECF System for filing and that a
true and correct copy of the foregoing has been served through the Court’s ECF filing system as
follows:

                              Charles P. Yezbak, III
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                              YEZBAK LAW OFFICES
                              2002 Richard Jones Road, Suite B-200
                              Nashville, TN 37215



                                                     /s/ Trevor W. Howell
                                                     Trevor W. Howell




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